                              EXHIBIT B


                            Proposed Order




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )   Chapter 11
                                                                         )
    THE DIOCESE OF BUFFALO, N.Y.,                                        )   Case No. 20-10322-CLB
                                                                         )
                                       Debtor.                           )
                                                                         )

                       ORDER AUTHORIZING AND APPROVING
             THE EMPLOYMENT OF BURNS BAIR LLP AS SPECIAL INSURANCE
               COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
             CREDITORS OF THE DEBTOR EFFECTIVE AS OF OCTOBER 5, 2023

                    Upon consideration of the Application of the Official Committee of Unsecured

Creditors of the Debtor to Retain and Employ Burns Bair LLP as Special Insurance Counsel

Effective as of October 5, 2023 (the “Application”),1 pursuant to sections 327 and 1103(a) Title

11 of the United States Code (the “Bankruptcy Code”), Rule 2014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the Local Rules of the

United States Bankruptcy Court for the Western District of New York (the “Local Rules”), for

an order authorizing and approving the retention and employment of Burns Bair LLP (“Burns

Bair”) as special insurance counsel for the Official Committee of Unsecured Creditors (the

“Committee”) of the above-captioned debtor (the “Debtor”) in this chapter 11 case; and upon

consideration of the declaration of Timothy W. Burns in support of the Application filed by the

Committee; and the Court having jurisdiction to consider the Application and the relief requested

therein in accordance with 28 U.S.C. § 1334; and consideration of the Application and the relief

requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief



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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.


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requested in the Application is in the best interests of the Debtor’s estate, its creditors and other

parties in interest; and the Committee having provided adequate and appropriate notice of the

Application under the circumstances; and after due deliberation and good and sufficient cause

appearing therefor;

                 IT IS HEREBY ORDERED THAT:

        1.       The Application is GRANTED as set forth herein.

        2.       The Committee is authorized to retain and employ Burns Bair as special insurance

counsel to the Committee effective as of October 5, 2023. In the alternative, to the extent retention

of Burns Bair as of October 5, 2023 is not permitted under applicable law, Burns Bair shall be

retained as of the earliest date permitted under law; provided, however, that Burns Bair may seek

compensation for work performed and expenses incurred as of and after October 5, 2023 even

where the effective date of its retention occurs thereafter.

        3.       Subject to Court approval, Burns Bair may be compensated for services rendered

and reimbursed for expenses incurred beginning on October 5, 2023.

        4.       Burns Bair shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtor’s case as set forth in the

Application and in compliance with the applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of this Court.

        5.       The Committee and Burns Bair are authorized and empowered to take all actions

necessary to implement the relief granted in this Order.

        6.       No fees will be paid to Burns Bair, including the use of any retainer received for

post-petition services, without prior approval of the Court.




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        7.       The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

        8.       Notwithstanding any provision in the Bankruptcy Rules to the contrary, this Order

shall be immediately effective and enforceable upon its entry.


Dated: ____________________, 2023
       Buffalo, New York

                                              THE HONORABLE CARL L. BUCKI
                                              CHIEF U.S. BANKRUPTCY JUDGE




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